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     EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MELODY JOY CANTU and                              §
DR. RODRIGO CANTU,                                §
Plaintiffs                                        §
                                                  §
                                                  § CASE NO.: 5:20-CV-00746-JKP (HJB)
                                                  §
V.                                                §
                                                  §
DR. SANDRA GUERRA and                             §
DIGITAL FORENSICS CORPORATION,                    §
LLC                                               §
Defendants                                        §

      DEFENDANT, DR. SANDRA GUERRA’S FIRST SET OF INTERROGATORIES
                     TO PLAINTIFF, DR. RODRIGO CANTU

TO:     DR. RODRIGO CANTU, by and through his counsel of record, Tor Ekeland, Pro Hac
        Vice, Email: tor@torekeland.com, Michael Hassard, Email: hassard.mike@gmail.com,
        TOR EKELAND LAW, PLLC, 30 Wall Street, 8th Floor, New York, NY 10005, and Rain
        Levy Minns, Email: rain@rainminnslaw.com, MINNS LAW FIRM, P.C., D/B/A RAIN MINNS
        LAW FIRM, 4412 Spicewood Springs Rd., Suite 500, Austin, Texas 78759-8583.

        NOW COMES, Defendant, DR. SANDRA GUERRA, and serves this her First Set of

Interrogatories on Plaintiff, DR. RODRIGO CANTU, pursuant to Federal Rules of Civil Procedure

26, 33 and 34. You are hereby notified that DR. SANDRA GUERRA specifies that your answers

shall be signed by you under oath and served on the undersigned attorney for on the first business

day after the expiration of thirty (30) days after the service of these Interrogatories.
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Date: August 15, 2022.       Respectfully submitted,



                             McCombs Plaza, Suite 500
                             755 E. Mulberry Avenue
                             San Antonio, Texas 78212
                             Telephone No.: (210) 822-6666
                             Telecopier No.: (210) 822-1151

                             By: /s/ Brandy C. Peery
                                    BRANDY C. PEERY
                                    State Bar No. 24057666
                                    Email: bpeery@lawdcm.com
                                    RICARDO G. CEDILLO
                                    Texas State Bar No. 04043600
                                    Email: rcedillo@lawdcm.com

                             ATTORNEYS FOR DEFENDANT, DR. SANDRA
                             GUERRA




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                                 CERTIFICATE OF SERVICE

       I certify that on this 15th day of August 2022, a true and correct copy of the foregoing was
served upon all counsel of record in accordance with the Federal Rules of Civil Procedure.


                                              /s/Brandy C. Peery
                                             BRANDY C. PEERY




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                             DEFINITIONS AND INSTRUCTIONS
                                     INSTRUCTIONS

       1.      Your answers to these Interrogatories are subject to the Federal Rules of Civil
Procedure and are to be made fully, separately and in writing.
       2.      In responding to the Interrogatories set forth below, please furnish all information in
your possession and the possession of all other persons acting on your behalf. Each Interrogatory
calls not only for your knowledge, but also all information that is available to you by reasonable
inquiry and due diligence, including inquiry of your agents, representatives and attorneys.
       3.      These Interrogatories are to be regarded as continuing and you are requested to
provide, by way of supplementary responses thereto, such additional information as may hereafter be
obtained by you, or by any person on your behalf, which will augment or otherwise modify any
answers given to the following Interrogatories.
       4.      If any of these Interrogatories cannot be responded to in full, please answer to the
extent possible, specifying the reasons for your inability to answer the remainder and stating what
information you do have concerning the unanswered portion.

As used herein, the following terms shall have the meaning indicated below:

 1.    “Person” means natural persons, general partnerships, limited partnerships, joint ventures,
       associations, corporations, governmental agencies (whether federal, state or local or any
       agency of the government of a foreign county), departmental units or subdivisions thereof,
       and any other form of business entity or association, as the case maybe.

 2.    The terms “document” and “documents” mean all documents and tangible things, in the
       broadest sense allowed under the Federal Rules of Civil Procedure, and include, but are not
       limited to, any writings, drawings, graphs, charts, photographs, phonograph records, tape
       recordings, notes, diaries, calendars, checkbooks, books, papers, accounts, electronic or
       videotape recordings, and any computer-generated, computer-stored, or electronically stored
       information that constitute or contain matters relevant to the subject matter of this lawsuit.
       The terms “document” and “documents” include responsive data or information that exists
       in electronic or magnetic form, and such responsive data should be produced on a CD, DVD,
       or other electronic form.

 3.    "Document" also includes electronically stored information – including, without limitation,
       writings, drawings, graphs, charts, photographs, text messages, emails,, image files (e.g.,
       .tiff and .pdf images)sound recordings, images, and other data or data compilations - stored
       in any medium from which information can be obtained either directly or, if necessary, after
       translation by the responding party.

 4.    The term “and/or,” “or,” and “and” are used inclusively, not exclusively.

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5.    Wherever the words “evidencing,” “reflecting,” “relating,” “demonstrating,” “pertaining to”
      and/or “concerning” appear herein, the meaning intended shall include: directly or indirectly
      referring to, related to, relating to, alluding to, having any relationship to, pertaining ,
      comprising, evidencing, constituting evidence of, connected with, commenting on,
      regarding, discussing, mentioning, analyzing, constituting, showing, referring in any way to,
      embodying in whole or in part, or being relevant to that subject matter, and is meant to
      include, among other documents, documents underlying, supporting, now or previously
      attached or appended to, and/or used in the preparation of any document called for by the
      Request.

6.    Use of the singular shall be taken to include the plural and vice-versa.

7.    The term “communication” refers to any transfer of information, oral or written, be it in the
      form of facts, ideas, inquiries, opinions or otherwise, by any means, at any time or place,
      under any circumstances, and is not limited to transfers between persons, but includes other
      transfers, such as records and memoranda to the file.

8.    “Identity” or “Identify” or “Identification”:

           (a) When used in reference to a natural person, "identity," "identify," or "identification"
               means to state his or her full name and present or last known address and present
               employer, specifying in each instance the title or position and the dates so held.

           (b) When used with respect to document, "identity," "identify," or "identification"
               means to state the date, subject and substance, author, all recipients, type of
               document (e.g., letter, telegraph, memorandum, computer printout, sound
               reproduction, chart, etc.), its present location and the identity of its present
               custodian. This shall include documents with respect to which a privilege is or may
               be claimed, if such document was, but no longer is, in Your possession or subject
               to Your control, state whether (a) it is missing or lost; (b) has been destroyed; (c)
               has been transferred voluntarily to others; or ( d) otherwise disposed of. In each
               such instance explain the circumstances surrounding an authorization for such
               disposition.

           (c) When used in respect to an occasion, event, meeting or conversation, "identity,"
               "identify," or "identification" means to state the date, place, duration and persons
               attending or participating.

9.    “You” and “Your” mean Plaintiff, DR. RODRIGO CANTU, including her attorneys, agents,
      employees, representatives and any other person or entity acting on or for her behalf,
      including without limitation, Tor Ekland and any attorneys, paralegals, legal assistants,
      contractors, or consultants of the employees, of .

10.   “CFAA Claims” means Plaintiffs’ causes of action one (1) through (8) set forth in paragraphs
      54-92 of Plaintiffs’ First Amended Complaint [Doc. 3] and cause of action twelve (12) set
      forth in paragraphs 109-111 of Plaintiffs’ First Amended Complaint.

11.   “Texas Statutory Claims” means Plaintiffs’ causes of action nine (9) through eleven (11) set
      forth in paragraphs 93-108 of Plaintiffs’ First Amended Complaint [Doc. 3].
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                                      PERIOD OF TIME

        Unless a specific date or dates is set forth in any specific interrogatory herein, you are
directed that each question shall be answered for the period of time beginning on March 25, 2009
up to and including the present date.




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                        FIRST SET OF INTERROGATORIES TO
                          PLAINTIFF, DR. RODRIGO CANTU

1. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from Dr. Guerra in connection with the CFAA
   Claims you have asserted against Dr. Guerra. Please include with your answer the amount
   of each item of compensatory damages and the date such damage/cost was incurred.


2. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from Digital Forensics Corporation, LLC
   (“DFC”) in connection with the CFAA Claims you have asserted against DFC. Please
   include with your answer the amount of each item of compensatory damages and the date
   such damage/cost was incurred.


3. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from Dr. Guerra in connection with the Texas
   Statutory Claims you have asserted against Dr. Guerra. Please include with your answer the
   amount of each item of compensatory damages and the date such damage/cost was incurred.


4. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from DFC in connection with the Texas Statutory
   Claims you have asserted against DFC. Please include with your answer the amount of each
   item of compensatory damages and the date such damage/cost was incurred.


5. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from Dr. Guerra in connection with the malicious
   prosecution claim you have asserted against Dr. Guerra. Please include with your answer the
   amount of each item of compensatory damages and the date such damage/cost was incurred.


6. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from DFC in connection with the malicious
   prosecution claim you have asserted against DFC. Please include with your answer the
   amount of each item of compensatory damages and the date such damage/cost was incurred.


7. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from Dr. Guerra in connection with the
   intentional infliction of emotional distress claim you have asserted against Dr. Guerra. Please
   include with your answer the amount of each item of compensatory damages and the date
   such damage/cost was incurred.


8. Identify with specificity all the compensatory damages (including, without limitation, all
   medical bills and costs) you seek to recover from DFC in connection with the intentional
   infliction of emotional distress claim you have asserted against DFC. Please include with
   your answer the amount of each item of compensatory damages and the date such
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   damage/cost was incurred.


9. Identify with specificity all the consequential damages (including, without limitation, all
   medical bills and costs) you seek to recover from Dr. Guerra in connection with the CFAA
   Claims you have asserted against Dr. Guerra. Please include with your answer the amount
   of each item of consequential damages and the date such damage/cost was incurred.


10. Identify with specificity all the consequential damages (including, without limitation, all
    medical bills and costs) you seek to recover from Digital Forensics Corporation, LLC
    (“DFC”) in connection with the CFAA Claims you have asserted against DFC. Please
    include with your answer the amount of each item of consequential damages and the date
    such damage/cost was incurred.


11. Identify with specificity all the consequential damages (including, without limitation, all
    medical bills and costs) you seek to recover from Dr. Guerra in connection with the Texas
    Statutory Claims you have asserted against Dr. Guerra. Please include with your answer the
    amount of each item of consequential damages and the date such damage/cost was incurred.


12. Identify with specificity all the consequential damages (including, without limitation, all
    medical bills and costs) you seek to recover from DFC in connection with the Texas Statutory
    Claims you have asserted against DFC. Please include with your answer the amount of each
    item of consequential damages and the date such damage/cost was incurred.


13. Identify with specificity all the consequential damages (including, without limitation, all
    medical bills and costs) you seek to recover from Dr. Guerra in connection with the malicious
    prosecution claim you have asserted against Dr. Guerra. Please include with your answer the
    amount of each item of consequential damages and the date such damage/cost was incurred.


14. Identify with specificity all the consequential damages (including, without limitation, all
    medical bills and costs) you seek to recover from DFC in connection with the malicious
    prosecution claim you have asserted against DFC. Please include with your answer the
    amount of each item of consequential damages and the date such damage/cost was incurred.


15. Identify with specificity all the consequential damages (including, without limitation, all
    medical bills and costs) you seek to recover from Dr. Guerra in connection with the
    intentional infliction of emotional distress claim you have asserted against Dr. Guerra. Please
    include with your answer the amount of each item of consequential damages and the date
    such damage/cost was incurred.


16. Identify with specificity all the consequential damages (including, without limitation, all
    medical bills and costs) you seek to recover from DFC in connection with the intentional
    infliction of emotional distress claim you have asserted against DFC. Please include with
    your answer the amount of each item of consequential damages and the date such
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   damage/cost was incurred.


17. Identify with specificity the amount of punitive damages you seek to recover from Dr. Guerra
    in connection with your claims asserted against her in the lawsuit and the basis for the
    calculation of such amount.


18. Identify with specificity the amount of punitive damages you seek to recover from DFC in
    connection with your claims asserted against them in the lawsuit and the basis for the
    calculation of such amount.




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